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 5
                              UNITED STATES DISTRICT COURT
 6                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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 8   MIROSLAVA LEWIS,
                                                       CASE NO. 2:23-cv-00812-RSL
 9                        Plaintiff,
10
                   v.

11   VAIL RESORTS, INC., et al.,                       ORDER COMPELLING
                                                       DEPOSITION OF NON-PARTY
12                        Defendants.                  FRANK POLIZZI

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            This matter comes before the Court on “Plaintiff’s Motion to Enforce Compliance
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     with Subpoena.” Dkt. # 58. Mr. Polizzi has information that is relevant to the claims
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     asserted in the above-captioned matter and was served with a subpoena to testify at a
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     videotaped deposition via ZOOM on July 22, 2024, and indicated receipt of the
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     videoconference link on July 19, 2024. He did not appear for the deposition.
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            Plaintiff filed this motion to compel compliance with the subpoena on July 30,
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     2024, providing notice of the motion to Mr. Polizzi by email and personal service. No
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     response was filed. It is hereby ORDERED that Mr. Polizzi shall attend a videotaped
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     deposition within fourteen days of the date of this Order. Plaintiff shall serve Mr. Polizzi
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     with a copy of this Order and, if possible, arrange a mutually agreeable time in which to
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     conduct the deposition prior to September 10, 2024. Failure to appear for the deposition
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     ORDER COMPELLING DEPOSITION OF NON-PARTY
     FRANK POLIZZI - 1
                 Case 2:23-cv-00812-RSL Document 66 Filed 08/26/24 Page 2 of 2



 1
     may result in the imposition of contempt sanctions against Mr. Polizzi under Fed. R. Civ.
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     P. 45(g).
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 5          Dated this 26th day of August, 2024.
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 7                                                 Robert S. Lasnik
 8                                                 United States District Judge

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     ORDER COMPELLING DEPOSITION OF NON-PARTY
     FRANK POLIZZI - 2
